Case 1:24-cv-02535-ACR Document3 Filed 09/09/24 Pagelof3

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Pro Se
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
para Case No.: 1:24-cv-02535-ACR
Plaintiff,
Vv. PRO SE PLAINTIFF'S MOTION FOR

CM/ECF USER NAME AND PASSWORD,

Georgetown Software House, Inc. AND FOR AUTHORIZATION TO E-FILE

Defendant.

Pro Se Plaintiff DINESH PATEL (‘‘Plaintiff) hereby requests the Court for an authorization to
register as an e-filer in the above captioned case, as provided by Local Rules 5.4(b). A similar previously
filed motion (ECF 2) was denied without prejudice by the Court because Plaintiff had not certified all
required items pursuant to LR 5.4(b)(2), which he has now corrected below. Plaintiff certifies that:

1. Plaintiffhas received and read an electronic copy of LR 5.4 rules and regulations regarding e-filing
in the United States District Court, District of Columbia, and that he will abide by the same.

2. Plaintiff owns several Personal Computers, Document Scanners, Printers, several licensed
software suites of Microsoft Office, Adobe Acrobat (for reading and creating PDF files) and Microsoft
Outlook (for sending/receiving emails), and on-line access to his above listed email account, which
sufficiently enable him to draft/prepare documents, to access his existing PACER account, to
electronically file and receive documents, and to access the Court’s website.

3. Plaintiff has the needed capacity to prepare/draft documents, electronically file documents and
receive electronically filed documents on a regular basis.

4. Plaintiff has also been permitted to file electronically in other federal courts, such as United States

District Court for the Northern District of California and the United States District Court for the District

PRO SE PLAINTIFF'S MOTION FOR
CM/ECF USER NAME AND PASSWORD, Page 1 of 2 Case No. 1:24-cv-02535-ACR
AND FOR AUTHORIZATION TO E-FILE

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28

Case 1:24-cv-02535-ACR Document3 Filed 09/09/24 Page2of3

of Nevada using his existing PACER account. Plaintiff has also regularly filed and received documents
electronically through his existing PACER account at the above referenced district courts.

5. Plaintiff also certifies that he is familiar with e-filing procedure using his existing PACER account.

WHEREFORE, pursuant to Local Rule 5.4(b)(2), Plaintiff respectfully requests the Court to grant
this motion.
Dated: September 6, 2024
Respectfu lly, submitted,

By: [~~
DINESH PATEL (Pro Se Plaintiff)

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PRO SE PLAINTIFF'S MOTION FOR
CM/ECF USER NAME AND PASSWORD, Page 2 of 2 Case No. 1:24-cv-02535-ACR
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Pro Se
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
DiiesieF ate Case No.: 1:24-cv-02535-ACR
Plaintiff,
V. [PROPOSED] ORDER
Georgetown Software House, Inc.

Defendant.

Pro Se Plaintiff Dinesh Patel (“Plaintiff”) has filed a motion for CM/ECF user name and password,
and for authorization to e-file in this case.

Plaintiffs motion for CM/ECF user name and password, and authorization to e-file is GRANTED.

IT IS SO ORDERED.
Dated:

Hon. Judge Ana C. Reyes

United States District Judge

[PROPOSED] ORDER Page 1 of 1 Case No. 1:24-cv-02535-ACR

